
16 N.Y.2d 905 (1965)
Lawrence S. Rosenberg, as Executor of Mary Rosenberg, Deceased, Appellant,
v.
Ed Caban, Respondent, et al., Defendants.
Court of Appeals of the State of New York.
Argued September 22, 1965.
Decided October 21, 1965.
Nathan L. Berke and Howard B. Gliedman for appellant.
Herbert Dicker for respondent.
Concur: Chief Judge DESMOND and Judges DYE, FULD, VAN VOORHIS, BURKE, SCILEPPI and BERGAN.
Order reversed, without costs, and matter remitted to Special Term with direction to deny the motion upon the ground that there is involved here no more than a mere irregularity subject to correction (CPLR 2001). Question certified answered in the negative. No opinion.
